                Case 19-11973-MFW          Doc 240     Filed 10/10/19       Page 1 of 6



                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

 In re:                                              Chapter 11

 SUGARFINA INC., et al.,                             Case No. 19-11973 (MFW)

                         Debtors.                    Jointly Administered



                         NOTICE OF DESIGNATION OF BAR DATES

TO:   ALL ENTITIES WHO MAY HAVE PREPETITION CLAIMS AGAINST
SUGARFINA, INC., SUGARFINA INTERNATIONAL, LLC AND SUGARFINA
(CANADA) LTD.:

             PLEASE TAKE NOTICE THAT:

1.        On September 6, 2019 (the “Petition Date”), the Debtors filed voluntary petitions for relief
          under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) in the
          United States Bankruptcy Court for the District of Delaware (the “Court”). Set forth below
          is the name, the last four digits of the federal tax identification number, and address for
          each Debtor:

 DEBTORS (other names, if any, used by               Last Four      Address
 the Debtor(s) in the last 8 years appear in         Digits of
 parentheses)                                        EIN
                                                                    1700 E. Walnut Ave., 5th Floor,
 Sugarfina, Inc.                                     4356           El Segundo, California 90245
                                                                    1700 E. Walnut Ave., 5th Floor,
 Sugarfina International, LLC                        1254           El Segundo, California 90245
                                                                    1700 E. Walnut Ave., 5th Floor,
 Sugarfina (Canada) Ltd.                             4480           El Segundo, California 90245

2.        Pursuant to an order of this Court entered on October 8, 2019 [Docket No. 228] (the “Bar
          Date Order”), the deadline for creditors to proofs of claim for prepetition claims against
          the Debtors is November 8, 2019 at 5:00 p.m. (PDT) (the “General Bar Date”), and the
          deadline for governmental units to file proofs of claim against the Debtors is March 4,
          2020 at 5:00 p.m. (PDT) (the “Governmental Unit Bar Date,” and together with the
          General Bar Date, the “Bar Dates”). The Bar Dates apply to all claims against the Debtors
          that arose before the Petition Date; provided however, that the Bar Dates do not apply to
          the Excluded Claims listed in paragraph 4 below. The Bar Date Order also sets procedures
          to be used for filing proofs of claim, which are summarized in this notice for your
          convenience.

3.        Unless you fall into one of the categories listed in paragraph 4, you MUST file a proof
          of claim if you have a claim against the Debtors that arose before September 6, 2019.


11293308/1
               Case 19-11973-MFW          Doc 240      Filed 10/10/19     Page 2 of 6



         Acts or omissions that occurred before September 6, 2019 may give rise to claims subject
         to the Bar Dates even if the claims may not have become known or fixed or liquidated until
         after September 6, 2019. Under section 101(5) of the Bankruptcy Code and as used herein,
         the word “claim” means: (a) a right to payment, whether or not such right is reduced to
         judgment, liquidated, unliquidated, fixed, contingent, matured, unmatured, disputed,
         undisputed, legal, equitable, secured or unsecured; or (b) a right to an equitable remedy for
         breach of performance if such breach gives rise to a right to payment, whether or not such
         right to an equitable remedy is reduced to judgment, fixed, contingent, matured, unmatured,
         disputed, undisputed, secured or unsecured.

4.       The Bar Date Order provides that creditors do NOT have to file proofs of claim by the Bar
         Dates for the types of claims and interests listed below in this paragraph 4 (collectively,
         the “Excluded Claims”). You need not file a proof of claim at this time for any
         Excluded Claim. The Court may enter one or more separate orders at a later time requiring
         creditors to file proofs of claim for certain types of Excluded Claims and setting related
         deadlines. If the Court does enter such an order, you will receive notice of it. Excluded
         Claims include claims of:

                     i. the U.S. Trustee, on account of claims for fees payable pursuant to
                        28 U.S.C. § 1930;

                    ii. claimants who already submitted a Proof of Claim against the
                        Debtors with the Clerk of the Bankruptcy Court for the District of
                        Delaware in a form substantially similar to Official Bankruptcy
                        Form 410 or with the Claims Agent;

                   iii. any person or entity (i) whose claim is listed in the Debtors’
                        Schedules or any amendments thereto and is not described therein
                        as “disputed,” “contingent,” or “unliquidated,” and (iii) who does
                        not dispute the amount or characterization of its claim as set forth
                        in the Schedules (including that the claim is an obligation of the
                        specific Debtor against which the claim is listed in the Schedules)
                        (FOR ADDITIONAL INFORMATION REGARDING
                        SCHEDULED CLAIMS, PLEASE SEE BELOW);

                   iv. professionals retained by the Debtors or any statutory committee
                       pursuant to orders of this Court who assert administrative claims
                       for fees and expenses subject to the Court’s approval pursuant to
                       Bankruptcy Code sections 330, 331, and 503(b);

                    v. any Claimant who holds a Claim that is subject to specific
                       deadlines, aside from those established pursuant to the Motion,
                       fixed by this Court by separate order;

                   vi. any Claimant who holds a Claim that has been paid in full by the
                       Debtors or any other party;



11293308/1
               Case 19-11973-MFW            Doc 240      Filed 10/10/19     Page 3 of 6



                     vii. current officers and directors of the Debtors who assert claims for
                          indemnification and/or contribution arising as a result of such
                          officers’ or directors’ prepetition or post-petition services to the
                          Debtors;

                  viii. any person or entity whose claim against the Debtors has been
                        allowed by an order of the Court, entered on or before the
                        applicable Bar Date;

                     ix. Any person or entity that holds an interest in the Debtors, which
                         interest is based exclusively upon ownership of common or
                         preferred stock, membership interest, partnership interest, or
                         warrants or rights to purchase, sell, or subscribe to such a security
                         or interest; provided, however, that interest holders that wish to
                         assert Claims (as opposed to ownership interest) against the Debtors
                         other than with respect to ownership or purchase of an interest,
                         including Claims arising out of or relating to the sale issuance or
                         distribution of the interest, must file proofs of claim on or before the
                         General Bar Date, unless another exception identified herein
                         applies; and

                      x. Any holder of a claim allowable under sections 503(b) or 507(a) of
                         the Bankruptcy Code as an administrative expense of this chapter 11
                         case.

5.       THE FACT THAT YOU HAVE RECEIVED THIS NOTICE DOES NOT MEAN
         THAT YOU HAVE A CLAIM OR THAT THE DEBTORS BELIEVE YOU HAVE
         A CLAIM.

6.       ACCESSING SCHEDULED CLAIMS AMOUNTS. All parties can search each of
         the Debtors’ Schedules of Assets and Liabilities to determine whether they have been
         listed by any of the Debtors as having a claim, and whether they are listed as having
         a claim that is contingent, unliquidated or disputed, by doing the following:

                a.        Access the Claims Agent’s website at www.bmcgroup.com/sugarfina;
                b.        Click on the link for the Debtors’ Schedules of Assets and Liabilities
                          located in the orange box on or before October 12, 2019;
                c.        Click on each of the Debtors’ names to access that particular Debtors’
                          Schedules of Assets and Liabilities; and
                d.        Press the control key and the “F” key on the keyboard and search for
                          a particular name.

7.       If the Debtors amend the Schedules after you receive this notice, the Debtors will give
         notice of that amendment to the holders of the claims that are affected, and those holders
         shall be afforded the later of thirty (30) days from the date on which such notice is given
         or the General Bar Date or the Governmental Bar Date, as applicable, to submit a proof of
         claim with respect to such amended Claim. Creditors who filed a proof of claim by the


11293308/1
               Case 19-11973-MFW          Doc 240     Filed 10/10/19     Page 4 of 6



         Bar Dates and do not assert any different information shall not be required to file new or
         amended proofs of claim in response to an amendment to the Schedules.

INSTRUCTIONS FOR FILING PROOFS OF CLAIM:

8.       If you file a proof of claim, your filed proof of claim must (i) be signed by the creditor
         asserting the claim or, if the claimant is not an individual, by an authorized agent of the
         claimant, (ii) be written in English, (iii) include a claim amount denominated in United
         States dollars, (iv) conform substantially with the proof of claim form provided by the
         Debtors or based on the Official Bankruptcy Form No. 410, and (v) clearly state a claim
         against the Debtors. The Debtors are enclosing a proof of claim form for use in these
         chapter 11 cases. If you require additional proof of claim forms, you may obtain a proof
         of claim form from any bankruptcy court clerk’s office, your lawyer, or by writing, through
         regular mail, overnight mail or hand delivery, to the Claims Agent at BMC Group, Attn:
         Sugarfina Claims Processing, 3732 West 120th Street, Hawthorne, CA 90250, or at
         www.bmcgroup.com/sugarfina.

9.       Your proof of claim form and/or motion must be filed on or before 5:00 p.m. prevailing
         Pacific Time on November 8, 2019 (non-governmental creditors) or 5:00 p.m. prevailing
         Pacific Time on March 4, 2020 (governmental creditors). You can file the proof of claim
         in the following manner:


                        If by Regular Mail:
                        BMC Group
                        Attn: Sugarfina Claims Processing
                        PO Box 90100
                        Los Angeles, CA 90009

                        If by Messenger or Overnight Delivery:
                        BMC Group
                        Attn: Sugarfina Claims Processing
                        3732 West 120th Street
                        Hawthorne, CA 90250

                        Additionally, Proofs of Claim may be delivered electronically using the
                        interface available on the Claims Agent’s website at
                        www.bmcgroup.com/sugarfina.

                        Proof of Claim Forms submitted by facsimile or e –mail will not be
                        accepted.

                        If you mail your Proof of Claim to the Claims Agent for filing, you must
                        mail it early enough so the Claims Agent will receive it on or before the
                        applicable Bar Date.




11293308/1
                 Case 19-11973-MFW       Doc 240     Filed 10/10/19    Page 5 of 6



CONSEQUENCES OF MISSING THE DEADLINE FOR FILING CLAIMS:

10.      EXCEPT WITH RESPECT TO EXCLUDED CLAIMS (AS DESCRIBED IN
         PARAGRAPH 4 HEREOF), IF YOU FAIL TO FILE A PROOF OF CLAIM ON
         OR BEFORE 5:00 P.M. (PREVAILING EASTERN TIME) ON THE
         APPLICABLE BAR DATE ON ACCOUNT OF ANY CLAIM YOU WISH TO
         ASSERT AGAINST THE DEBTORS (OR IF YOU DO NOT SUBMIT YOUR
         CLAIM VIA U.S. MAIL, HAND DELIVERY OR OVERNIGHT MAIL SO AS TO
         BE ACTUALLY RECEIVED ON OR BEFORE 5:00 P.M. (PREVAILING
         PACIFIC TIME) ON THE APPLICABLE BAR DATE), THEN:

                YOU WILL NOT BE TREATED AS A CREDITOR FOR PURPOSES OF
                 THESE CHAPTER 11 CASES;

                YOU WILL NOT RECEIVE ANY DISTRIBUTION IN THESE CHAPTER 11
                 CASES ON ACCOUNT OF THAT CLAIM; AND

                YOU WILL NOT BE PERMITTED TO VOTE ON ANY PLAN OR PLANS OF
                 REORGANIZATION OR LIQUIDATION FOR THE DEBTORS ON
                 ACCOUNT OF THESE BARRED CLAIMS.

EXAMINATION OF BAR DATE ORDER AND SCHEDULES:

11.      Copies of the Bar Date Order, the Schedules and other documents filed in these chapter 11
         cases may be examined between the hours of 8:00 a.m. and 4:00 p.m., Prevailing Eastern
         Time, Monday through Friday, at the Office of the Clerk of the Bankruptcy Court, 824
         North Market Street, 3rd Floor, Wilmington, Delaware 19801.

QUESTIONS:

12.      Proof of claim forms and a copy of the Bar Date Order may be obtained by visiting
         www.bmcgroup.com/sugarfina. The Claims Agent cannot advise you how to file, or
         whether you should file, a proof of claim.




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11293308/1
             Case 19-11973-MFW   Doc 240     Filed 10/10/19   Page 6 of 6



 DATED: October 10, 2019                   MORRIS JAMES LLP
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11293308/1
